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UNITED STATES DISTRICT COURT
DISTRICT OF NEW HAMPSHIRE
------------------------------------X
LOCAL 8027, AFT-NEW HAMPSHIRE, AFL-                :
CIO, RYAN RICHMAN, JOHN DUBE and                   :
JOCEYLN MERRILL, teachers in the New               :
Hampshire Public Schools, and KIMBERLY             :
GREEN ELLIOTT and MEGHAN EVELYN                    :
DURDEN, parents or guardians of children in the :
New Hampshire public schools.                      : No. ____________
                                                   :
                                       Plaintiffs, :
                      - against -                  :
                                                   :
FRANK EDELBLUT, in his Official Capacity as :
Commissioner of the DEPARTMENT OF                  :
EDUCATION (“DOE”), CHRISTIAN KIM in his :
Official Capacity as the Chair of the NEW          :
HAMPSHIRE COMMISSION ON HUMAN                      :
RIGHTS, and JOHN FOMELLA in his Official           :
Capacity as ATTORNEY GENERAL of the State :
of New Hampshire.                                  :
                                  Defendants.      :
------------------------------------X

                                        COMPLAINT

       Plaintiffs, LOCAL 8027, AFT-NEW HAMPSHIRE, AFL-CIO, RYAN RICHMAN,

JOHN DUBE, AND JOCELYN MERRILL, individual teachers in the New Hampshire Public

Schools, and KIMBERLY GREEN ELLIOTT and MEGHAN EVEYLN DURDEN, individual

parents of children in the New Hampshire public schools, through their attorneys Nolan Perroni,

P.C., Stroock & Stroock & Lavan LLP, Phillips, Richard & Rind, P.C., David Strom, Esq., and

Selendy & Gay PLLC, for their complaint against Commissioner Frank Edelblut, in his official

capacity as Commissioner of DOE, Christian Kim in his Official Capacity as Chair of the New

Hampshire Commission on Human Rights and John Fomella in his Official Capacity as Attorney

General of the State of New Hampshire allege as follows:
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                                  NATURE OF THE ACTION

       1.      This action for declaratory and injunctive relief challenges the constitutionality and

legality of recently enacted New Hampshire statutory provisions 297 and 298 of 2021 House Bill

2 (“297 and 298” “HB 2”), codified at N.H. REV. STAT. ANN. (“RSA”) 354-A:29, RSA 354-A:30,

RSA 354-A:31, RSA 354-A:32, RSA 354-A:33, RSA 354A:34; and RSA 193:40, all enacted June

25, 2021, which together have come to be known as the “Divisive Concepts Statute” (see infra,

n.12-13).

       2.      Concisely put, the Divisive Concepts Statute was designed to limit teaching in

New Hampshire of ideas and societal concerns not to their liking, thereby curtailing speech,

limiting the free exchange of ideas within our classrooms and depriving New Hampshire students

of their constitutionally and statutorily guaranteed right to an adequate education. The resulting

enactment is at once unconstitutionally vague in violation of the Fourteenth Amendment of the

United States Constitution, chills teacher speech in violation of the First Amendment and

conflicts with and compels abridgment of New Hampshire’s Constitution and laws, thereby

creating further vagueness, fear and uncertainty as to what New Hampshire teachers may teach

and as a result hurts New Hampshire’s students.

       3.      The Divisive Concepts Statute invites partisanship into our schools and deputizes

private, politically-motivated individuals to enforce its vague proscriptions. Indeed, in recent

weeks, the Divisive Concepts Statute has been seized upon by radical political groups to

rationalize an offer of an economic “bounty” for informers who lodge, on a recently created State-

established and Department of Education maintained website, complaints about public school

teachers. This threat of a “bounty” looms large in addition to obvious reputational consequences

and penalties, including firing, that the Defendant Education Commissioner may thereafter seek

to impose, underscoring the Statute’s chilling effect not just on teachers’ constitutionally


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protected rights but, as a result, on the education students must have to prepare for life, college,

careers and citizenship. Indeed, teachers, including a Plaintiff in this action, have been made the

subject of online harassment, obscenities and vicious attacks as a direct result of the climate of

political intimidation created by and with the facilitation of various Defendants.

        4.       The “culture wars” have no place in New Hampshire’s classrooms. Our public

school teachers and support staff are dedicated public servants who have stepped up and devoted

themselves beyond measure during the pandemic to continue to teach our children. Yet, they are

being politically targeted and threatened with public shaming and undeserved disciplinary

proceedings (not to mention the cost of defending themselves) for doing their jobs in accordance

with the curriculum formally adopted by the state. New Hampshire parents, too, are entitled to

send their children to school, expecting a full and robust exchange of ideas in the classroom,

uncorrupted by censorship and extremist partisanship.

        5.       Because it is hopelessly and unconstitutionally vague on its face, the State and its

agencies have on at least two separate occasions since its passage weighed in to attempt to clarify

the meaning and scope of the Divisive Concepts Statute. In July 2021, the Commission for

Human Rights, Department of Justice and Department of Education issued a guidance document

entitled “Frequently Asked Questions: New discriminatory practice prohibitions applicable to

public prohibitions applicable to k-12 educational programs” 1, (the “FAQ”), in an attempt to

define certain ambiguous words in the statute and identify what teachers may (and may not)

teach. After it became clear that the attempted clarification had fallen woefully short, on

September 7, 2021, in response to a request from the Human Rights Commission (the same State

agency that previously issued the FAQ), the Attorney General again attempted in a formal opinion

1
 Dep’t of Educ., Comm’n for Human Rights and Dep’t of Justice, Frequently Asked Questions: New discriminatory
practice prohibitions applicable to k-12 educational programs, https://www.doj.nh.gov/civil-rights/documents/faq-
educational-programs.pdf (last accessed Dec. 10, 2021).


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to resolve the confusion and identify what is and what is not prohibited by the Statute. 2 The need

for repeated clarification and restatement by each of these state entities underscores the law’s

vagueness and the unquestionable difficulty public school teachers have in understanding it, much

less complying with it while, at the same time, adhering to conflicting state laws and mandated

curriculum.

        6.       While the Attorney General’s September 7th Opinion (together with the July 21st

FAQ’s) make strides towards interpreting, and seemingly limiting some of the unconstitutional

educational restrictions imposed on teachers by the Divisive Concepts Statute, it does not fully

cure the statute’s defects—particularly as to the unbridled claims of third party bounty hunters or

the cadre of informers assembled through the Department of Education’s website. Nor is it

comprehensive or binding authority. And while the Attorney General’s opinion is dated

September 7, 2021, as of the date of this complaint (December 13, 2021), the Department of

Education does not even reference it much less include it as part of its purported governing

interpretations listed on the Department of Education website. Thus, teachers now are placed in

the impossible position of interpreting a statute that the Attorney General, the State Human Rights

Commission and even the Department of Education agree is confusing and one that on its face

conflicts with state education laws and curriculum mandates and, which, if the teachers’

interpretation as non-lawyers is in error, subjects them to reputational injury, disciplinary

procedures and potentially the loss of their livelihoods, not to mention the vengeance of bounty

hunters empowered by the Divisive Concepts Statute to maintain harassing litigation. The

intervention and imprimatur of this Court through declaratory relief thus is necessary (a) to clarify

the Divisive Concepts Statute, and correct it’s infirmities, starting with, but not limited to, the

2
  Attorney General Dep’t of Justice, Attorney General Opinion No. 2021-01, Request for Attorney General’s Opinion
regarding new anti-discrimination protections (Sept. 7, 2021), https://www.doj.nh.gov/public-
documents/documents/opinion-2021-01-hb2-anti-discrimination.pdf.


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direction recognized as essential by the Attorney General in his formal Opinion, or (b) invalidate

it, particularly because the statute authorizes private individuals in this highly charged political

environment to bring private suits against individual teachers to enforce its ambiguous provisions,

regardless of any limiting language from the Attorney General, or otherwise.

                                           THE PARTIES

       7.       Plaintiff Ryan Richman is a high school World History teacher at Timberlane,

Regional High School. Since the start of the school year, the Divisive Concepts Statute has had

the effect of chilling Mr. Richman’s ability to provide his students with the nature, content and

quality of education guaranteed and mandated by the New Hampshire Constitution and laws. His

interaction with his students has been materially curtailed given Mr. Richman’s uncertainty as to

what he can and cannot teach and what questions he can and cannot answer. As a result, his

students – along with the students of all other New Hampshire teachers in this complaint – are put

at a competitive disadvantage as they are not receiving the comprehensive education to which

they are entitled under New Hampshire law, and which other students in the United States are

receiving.

       8.       Plaintiff John Dube is a high school U.S. History and AP U.S. History teacher at

Timberlane Regional High School. After the Divisive Concepts Statute was passed, Mr. Dube

signed an online petition promising to teach “honest” history. A New Hampshire rightwing group

published all of the names of teachers who signed the petition, pledging to “shame” them. Mr.

Dube was subject to online harassment, threats and obscenities for simply doing his job in the

classroom – requiring federal and local law enforcement intervention. He continues to fear for his

own personal safety and, in fact, has had to install personal security and safety equipment at his

home in light of the threats. See Exhibit A.




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       9.       Plaintiff Jocelyn Merrill is a ninth grade English teacher at Nashua High School

North. She has been teaching for 10 years. Since the Divisive Concepts Statute was passed, Ms.

Merrill has limited her classroom discussion of race to specific passages in assigned literature and

has avoided any discussion of racism’s systemic impact with her students.

       10.      Plaintiff Kimberly Green Elliott is a Reading Specialist at Fairgrounds Middle

School and lives in Merrimack, New Hampshire. Ms. Elliot has two children, a daughter who

graduated from Merrimack public schools and is now in college, and a son, who currently attends

Merrimack High School. Ms. Elliott believes the Divisive Concepts Statute will prevent her son

from receiving a full and robust education for, among other reasons, those highlighted in

paragraph 6, supra. In fact, since the Divisive Concepts Statute was passed, Ms. Elliott has

observed a noticeable difference in the breadth of the education her son has received and has even

seen one of her son’s teachers self-censor on certain controversial topics.

       11.      Plaintiff Meghan Evelyn Durden is an Art Teacher at Charlotte Avenue

Elementary School. Her daughter is in public elementary school in Nashua. As described in

paragraph 6, supra, Ms. Durden believes the Divisive Concepts Statute will prevent Ms. Durden’s

daughter from receiving a full and robust education for, among other reasons.

       12.      Plaintiff Local 8027, AFT-New Hampshire, AFL-CIO is a labor union

representing approximately 3,400 public school teachers, school support staff, city and town

employees, police officers, library employees, and higher education faculty. Local 8027 is a

member of the New Hampshire AFL-CIO, and is the state affiliate for the American Federation of

Teachers with more than 3,000 local affiliates nationwide, 43 state affiliates, and more than 1.7

million members.




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        13.      Defendant New Hampshire Education Commissioner Frank Edelblut, in his

Official Capacity as Commissioner of DOE, is tasked under RSA § 21-N:4 with “[e]stablishing

the organizational goals of the department and representing the public interest in the

administration of the functions of the department of education and being responsible to the

governor, the general court, and the public for such administration.” (Emphasis added).

        14.      Defendant Christian Kim, in his Official Capacity as Chair of the New Hampshire

Commission for Human Rights, is tasked with enforcing the law against discrimination and to

“receiv[ing], investigat[ing] and mak[ing] findings” on complaints. Relevant here, the

Commission for Human Rights is empowered under the Divisive Concepts Statute to enforce its

provisions.

        15.      Defendant John Fomella is the Attorney General of the State of New Hampshire

and is the chief legal officer in the State. His duties and responsibilities include, among others,

addressing challenges to New Hampshire statutes and related constitutional challenges, the

subject of these proceedings.

                                  JURISDICTION AND VENUE

        16.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

question) because this action arises under the Constitution and the laws of the United States.

        17.      Venue is proper in this District under 28 U.SC. § 1391(b) because at least one

Defendant resides within this District, all Defendants reside in the State in which this District is

located, and a substantial part of the events or omissions giving rise to the claim occurred in this

District.

        18.      The Court is authorized to award the requested declaratory and injunctive relief

under 28 U.S.C. §§ 2201-2202 and 42 U.S.C. § 1983.




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        19.       The Court has jurisdiction of claims viewed as being cognizable only under state

law as a matter of supplemental jurisdiction. 28 U.S.C. § 1367.

                                           BACKGROUND

        20.       Education is a vital function of state and local governments. Public education is

the lifeblood of our democracy and enables our children to be prepared for their lives, for college

and career, as well as for civic participation. As the Supreme Court famously put it, “[i]t is the

very foundation of good citizenship.” Brown v. Bd. of Educ. of Topeka, 347 U.S. 483, 493

(1954), supplemented sub nom, Brown v. Bd. Of Educ. of Topeka, Kan, 349 U.S. 294 (1955).

        21.       Within our free and diverse educational system, broad exposure and the freedom to

explore and examine areas of scholarship, art, history and science, together with the development

of critical basic skills, are essential to training our young citizens for the privileges and

responsibilities necessary for full participation in a democratic society. Any attempt to diminish

public education through misinformation, selective teaching or censorship directly threatens both

our young citizens and our democracy. Critical thinking and the ability to independently and

freely evaluate ideas exchanged in public debate are core skills at the foundation of all

educational training.

        22.       Aside from being a country devoted to freedom, democracy, opportunity and

justice for all, what sets our great nation apart is its unique diversity – of race, ethnicity, religion,

viewpoint, among many others – and our steadfast commitment to celebrate that diversity rather

than muzzle it.

        23.       Politically-driven censorship (reminiscent of the 1933 book burnings here, or in

Germany or in Austria) has no place in a vital and vibrant America, and is especially unwelcome

in American classrooms. Our judiciary understands the anathema that censorship represents and

the need to protect against it. Nearly a century ago, the United States Supreme Court recognized


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that “[m]ere knowledge” of concepts, perspectives, and events “cannot reasonably be regarded as

harmful” when taught in public schools. Meyer v. Nebraska, 262 U.S. 390, 399-400 (1923). That

is particularly true today, when students, armed with the internet and other technological

advances, have free and unfiltered access to more information than at any other time in history.

The public school classroom – the cornerstone of a sound education and educational system –

must be a safe forum for the free exchange of ideas and information. It is a young American’s

initial and foundational exposure to the importance of independent thought and expression, and a

critical first component for the cultivation of democratic ideals.

       24.        New Hampshire has long been a beacon of American public education, with a rich

history of preparing well-rounded students for successful participation in our ever changing

society. These basic precepts have been acknowledged and practiced in New Hampshire’s public

education system for decades. Indeed, the need for a diverse and well-rounded educational

experience is enshrined in the New Hampshire Constitution which guarantees a minimally

“adequate education,” and in case law explaining the touchpoints of such an education. Thus,

New Hampshire’s highest court has made clear that:

                  Given the complexities of our society today, the State’s
                  constitutional duty [to provide a constitutionally adequate
                  education] extends beyond mere reading, writing and arithmetic. It
                  also includes broad educational opportunities needed in today’s
                  society to prepare citizens for their role as participants and as
                  potential competitors in today’s marketplace of ideas.

Claremont Sch. Dist. v. Governor, 138 N.H. 183, 192 (1993) (Claremont I). Indeed, in the

progeny of Claremont I the principles of curricular openness have consistently been strengthened

and reiterated.

       25.        New Hampshire’s uniform state educational standards contemplate that students

will be engaged and challenged on a diversity of topics even in those instances where confronting



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certain materials or topics may cause discomfort (e.g., historical events such as the Cocheco

Massacre and its aftermath 3) but at the same time teach vital lessons. For example, New

Hampshire has long mandated by statute that in all public and private schools, there shall be

courses teaching about “intolerance, bigotry, antisemitism, and national, ethnic, racial, or

religious hatred and discrimination [that] have evolved in the past, and can evolve, into genocide

and mass violence” and “to prevent the evolution of such practices” in the future. 4 (Emphasis

added). New Hampshire law thus requires students to examine – and it follows that teachers shall

provide the instruction for students to learn – controversial events from multiple perspectives and

ideologies and learn to defend and challenge differing views on a wide variety of topics. In short,

New Hampshire state law promises to develop students into well-rounded, well-educated young

adults who are prepared to embrace all the challenges, complexities, privileges and

responsibilities of American citizenship, who are prepared to live in an increasingly diverse

world, and who can compete successfully in the New Hampshire, national and global economies.

The accomplishment of that goal has long been a hallmark of New Hampshire and of its

educational system. Parents rely on New Hampshire’s public schools to educate their children

consistent with those standards. And every year, high school seniors seek their degrees to prepare

them for the workforce, college, and whatever else may lay ahead of them, assured, consistent

with those standards, that they have acquired the necessary knowledge and skills to survive and

thrive in a complex, ever-changing, competitive world.

        A.       The Divisive Concepts Statute

        26.      On June 25, 2021, New Hampshire lawmakers launched a devastating blow to the

education New Hampshire parents have come to expect and thrust upon New Hampshire’s

3
  See The Dover, N.H. Public Library, Dover History, https://www.dover.nh.gov/government/city-
operations/library/history/the-cochecho-massacre.html (last accessed Dec. 10, 2021).
4
  See RSA § 189:11(i)(j).


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teachers an impossible predicament. Rather than uphold the longstanding tradition of educational

excellence, New Hampshire legislators, as part of a political arrangement necessitated by a

deadline for the timely enactment of the biennial state budget, accepted a falsely-premised

national political narrative of opposition to “political correctness” by enacting the statute that is

the subject of this litigation, RSA § 193:40.

        27.      They did so in the wake of nationwide efforts to politicize and censor education. 5

As his term in office drew to a close, President Trump established the “1776 Commission,” a

group created to “promote patriotic education,” 6 defined by its opposition to a controversial

theorem, The Critical Race Theory (“CRT”), which they termed “toxic propaganda” 7, the New

York Times’ 1619 Project, and the late Howard Zinn, author of A People’s History of the United

States. President Trump also issued a November 2020 Executive Order prohibiting federal

institutions from providing diversity and inclusion training and discussing topics about systemic

racism, white privilege and other race and gender bias issues. 8 Willingness to pursue such

mandates for thinking, learning and teaching became for some the political litmus test for

educational existence.

        28.      Nonprofit organizations challenged the above Executive Order in federal court,

arguing that it violated their free-speech rights and hampered their ability to conduct their

businesses, including their ability to conduct training for their workforce on topics such as

“implicit bias.” A federal judge agreed, enjoining on a nationwide basis the enforcement of the

Executive Order restraining the education and training of federal employees respecting “divisive


5
  Adam Harris, The GOP’s ‘Critical Race Theory’ Obsession, THE ATLANTIC (May 7, 2021),
https://www.theatlantic.com/politics/archive/2021/05/gops-critical-race-theory-fixation-explained/618828/.
6
  Olivia B. Waxman, Echoing Decades of Fighting Over U.S. History Classrooms, President Trump Announces a
Push for ‘Patriotic Education,’ TIME (Sept. 17, 2020), https://bit.ly/3xs1qHX.
7
  Id.
8
  Establishing the President’s Advisory 1776 Commission, Pres. Exec. Order No. 13958, 85 Fed. Reg. 70951 (Nov. 2,
2020).


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concepts” (i.e., race and gender), as violative of the First Amendment. 9 With bipartisan support,

President Biden rescinded the order shortly after taking office, 10 thus mooting the litigation.

        29.      Nevertheless, as one commentator aptly put it, the rebranding of the “critical race

theory was already a part of the conservative lexicon” by that point. 11 Supporters of the “divisive

concepts” ban rushed to generate a rash of proposed state legislative measures in various states

designed to replicate, if not expand, the federal constraints that had just been enjoined based on

serious constitutional concerns.

        30.      Spurred on by committed ideological zealots who wanted to re-write history, some

New Hampshire politicians were persuaded to follow suit. After unsuccessfully attempting to

pass stand-alone legislation explicitly banning the teaching of “divisive concepts” related to race

and gender, the Legislature included prohibitions against teaching in order to gain the requisite

votes to timely pass the biannual $13.5 billion state budget bill (an acutely time sensitive measure

which if not enacted precisely in accordance with sensitive timelines would cripple the state).

        31.      The new bill created sections 297 and 298, and to conceal its true meaning and

purpose, was entitled “Right to Freedom From Discrimination in Public Workplaces and

Education” (June 25, 2021) (the “Teaching Discrimination Statute”). It was joined with

contemporaneously enacted amendments to RSA § 354-A:30-34 (the “Contemporaneous

Amendments”), 12 into a single bill (HB 2), skillfully crafted to conceal through ambiguity the true

censorship purposes of its architects. 13


9
  See Santa Cruz Lesbian and Gay Community Center v. Trump, 508 F. Supp. 3d 521 (N.D. Cal. 2020).
10
   Harris, supra n.5.
11
   Id.
12
   The Contemporaneous Amendments include: “354-A:29 Right to Freedom from Discrimination in Public
Workplaces and Education;” “354-A:31 Prohibition on Public Employers;” “354-A:33 Protection for Public
Employees,” and “354-A:34 Remedies”).
13
   The full text of the operative provisions of HB 2, the Budget Bill which added the above-cited provisions as
adopted, is attached hereto as Appendix A. For convenience, that portion which is the focus of these proceedings and
is captioned “Prohibition on Teaching Discrimination” is in full text as follows:


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         32.       In their effort to legislate around expressly banning CRT and related topics, the

legislative sponsors drafted the Divisive Concepts Statute with language that is vague beyond

comprehension and is one that flies squarely in the face of the United States Constitution and

New Hampshire statutory and constitutional law. The Divisive Concepts Statute was broadly

couched as seemingly aimed at prohibiting teaching that “an individual, by virtue of his or her

age, sex, gender identity, sexual orientation, race, creed, color, marital status, familial status,

mental or physical disability, religion, or national origin is inherently racist, sexist, or oppressive,

whether consciously or unconsciously.”

         33.       Similarly, the measure was cast as also prohibiting teaching that (i) “people of one

age, sex, gender identity, sexual orientation, race, creed, color, marital status, familial status,

“91:298 New Section; Prohibition on Teaching Discrimination. Amend RSA 193 by inserting after section 39 the
following new section:
193:40 Prohibition on Teaching Discrimination. I. No pupil in any public school in this state shall be taught,
instructed, inculcated or compelled to express belief in, or support for, any one or more of the following:
(a) That one’s age, sex, gender identity, sexual orientation, race, creed, color, marital status, familial status, mental or
physical disability, religion or national origin is inherently superior to people of another age, sex, gender identity,
sexual orientation, race, creed, color, marital status, familial status, mental or physical disability, religion, or national
origin;
(b) That an individual, by virtue of his or her age, sex, gender identity, sexual orientation, race, creed, color, marital
status, familial status, mental or physical disability, religion, or national origin, is inherently racist, sexist, or
oppressive, whether consciously or unconsciously;
(c) That an individual should be discriminated against or receive adverse treatment solely or partly because of his or
her age, sex, gender identity, sexual orientation, race, creed, color, marital status, familial status, mental or physical
disability, religion, or national origin; or
(d) That people of one age, sex, gender identity, sexual orientation, race, creed, color, marital status, familial status,
mental or physical disability, religion, or national origin cannot and should not attempt to treat others without regard
to age, sex, gender identity, sexual orientation, race, creed, color, marital status, familial status, mental or physical
disability, religion, or national origin.
II. Nothing in this section shall be construed to prohibit discussing, as part of a larger course of academic instruction,
the historical existence of ideas and subjects identified in this section.
III. Any person claiming to be aggrieved by a violation of this section, including the attorney general, may initiate a
civil action against a school or school district in superior court for legal or equitable relief, or with the New
Hampshire commission for human rights as provided in RSA 354-A:34.
IV. Violation of this section by an educator shall be considered a violation of the educator code of conduct that
justifies disciplinary sanction by the state board of education.
V. For the purposes of this section,“ educator” means a professional employee of any school district whose position
requires certification by the state board pursuant to RSA 189:39. Administrators, specialists, and teachers are
included within the definition of this term. 91:299 Severability. If any provision of sections 297-298, or the
application of any provision to any person or circumstance is held to be invalid, the remainder of such sections, and
their application to any other persons or circumstances shall not be affected thereby.
91:300 Effective Date. Sections 297-299 of this act shall take effect upon passage.



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mental or physical disability, religion, or national origin cannot and should not attempt to treat

others without regard [sic] to age, sex, gender identity, sexual orientation, race, creed, color,

marital status, familial status, mental or physical disability, religion, or national origin” or (ii) that

one’s “age, sex, gender identity, sexual orientation, race, creed, color, marital status, familial

status, mental or physical disability, religion or national origin is inherently superior to people of

another age, sex, gender identity, sexual orientation, race, creed, color, marital status, familial

status, mental or physical disability, religion, or national origin.”

        34.     Importantly, the statute authorizes “[a]ny person claiming to be aggrieved by a

violation of the [Divisive Concepts Statute]” to “initiate a civil action against a school or school

district in superior court for legal or equitable relief...” (Emphasis added).

        35.     The overbreadth and ambiguity of the statute makes it impossible for teachers to

follow and highly susceptible to arbitrary and discriminatory enforcement, particularly by State

enabled private citizen “bounty hunters” and informers.

        36.     What does it mean, for example, to prohibit teaching that people of one particular

group “cannot and should not attempt to treat others without regard” for their age, sex, gender,

mental or physical disabilities? Indeed, our laws mandate the accommodation of certain groups

of people, including those with mental and physical disabilities, and purposefully treat individuals

with regard for their chronological age. What does it mean to prohibit teaching that an

individual, by virtue of one’s age, cannot make one “inherently superior” or “inherently inferior”

to a younger individual? Here, too, our laws recognize and plainly differentiate “by virtue of

one’s age.” A 12 year-old cannot get a chauffeur’s license in most jurisdictions. A 90-year old

cannot get a paragliding permit or train operating engineer’s license in most jurisdictions.

Additional examples concretely illustrate the ambiguities:




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       •       Can a teacher discuss, debate, or answer questions in their classroom
               about the policy of affirmative action, a policy that necessarily treats
               members of certain identified groups differently and with regard for their
               identification? Can a teacher discuss for example, programs such as the
               Small Business Association’s affirmative action programs for the
               treatment of disabled individuals, which necessarily treats disabled
               applicants differently?

       •       Can a teacher discuss or debate New Hampshire’s mandatory retirement
               age (since 1792) for judges attaining 70 years of age and whether the law
               ought to force retirement at a certain age in the judiciary or elsewhere?

       •       Can a teacher discuss or debate the Americans with Disabilities Act and
               whether the law should accommodate, and not treat equally, those who
               need or require special accommodation?

       •       Can a teacher discuss the failure of all states to ratify the Equal Rights
               Amendment, and whether other measures should be taken to ensure
               women are treated equally with their male counterparts? Perhaps more
               simply, can a teacher posit that women today, by virtue of their gender, are
               inappropriately paid less than men?

       •       Can a teacher discuss why the midnight thrill of a Crawford Notch first
               vote is a greater testament to democracy than a poll tax, or the limitation
               on the number of polling places or like constraints on voting? Or that
               these constraints on voting are impairing democracy or discriminatory to
               marginalized communities?

The statutory provisions arguably proscribing the foregoing remain on the books, providing a

basis for the politically motivated to terrorize or intimidate teachers. As set forth in greater detail

below, with the Department and Commissioner of Education permitting, and tacitly encouraging,

the formation and deployment of a cadre of informers and bounty hunters to report violations of

the statute using the simple expedient of an online complaint, thereby triggering inquiry, and

perhaps discipline, the chilling effect of that prospect will have the desired result in many cases,

with those fearful of job loss, possible investigation and reputational harm becoming ready prey.

       37.     Moreover, the Divisive Concepts Statute’s constraining mandates squarely collide

with long-standing provisions of New Hampshire’s law directing what shall be taught.

Consequently, New Hampshire’s teachers face a situation that is impossible to navigate: if they


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attempt to comply with the statute’s substantive prohibitions, they could run afoul of New

Hampshire’s mandatory educational standards; but if they attempt to comply with New

Hampshire’s long-standing educational standards, they could run afoul of the substantive

prohibitions in the Divisive Concepts Statute. 14

        38.      This is not simply a “theoretical conflict.” It is a Hobson’s choice that teachers in

New Hamshire now are asked to face every day. Since the start of the school year, teachers

across New Hampshire have struggled to understand the scope of what they can and cannot teach

and what questions they can and cannot answer under the Divisive Concepts Statute.

        39.      Plaintiff Ryan Richman, for example, who teaches world history class at

Timberlane Regional High School, in Plaistow, N.H, is facing this dilemma. He often asks his

students to “[f]ind an event in the news, bring it to class, and be prepared to discuss its

connections with the past.” 15 “Nine times out of 10, they are stories about oppression. They’re

stories about exclusionism. They’re about the Rohingya genocide, they’re about the Uyghur

genocide, which are going on right this second. They’re about Black Lives Matter.” 16 He, like

many other teachers, is now left wondering whether the Divisive Concepts Statute “will affect his

class, or that instruction.” 17

        40.      For example, the Divisive Concepts Statute prohibits teaching that an individual,

by virtue of his religion or race is “oppressive, whether consciously or unconsciously.” Mr.

Richman teaches genocide studies. In discussions of the expanding influence of China, can Mr.

Richman teach about Chinese claims of racial and religious superiority and oppression of Uyghur




14
   See infra, ¶¶ 63-75.
15
   Ethan DeWitt, NH teachers consider how ‘divisive concepts’ law will affect lesson plans, VALLEY NEWS (July 14,
2021), https://www.vnews.com/teachers-respond-to-divisive-concepts-legislation-from-41432485.
16
   See id.
17
   See id.


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Muslim women who are raped as part of a supposed re-indoctrination program? 18 Can he discuss

Russia’s oppressive treatment of the Chechen people? While teaching about genocide and the

Holocaust, which are expressly mandated by the New Hampshire State curriculum, Mr. Richman

worries what he can teach about Nazism, Aryan supremacy philosophy generally, and how white

supremacy still exists today. Mr. Richman also teaches constitutional law to his high school

students. He worries whether he can teach about affirmative action, the Voting Rights Act and

the Equal Rights Amendment and whether protections are still needed today, without running

afoul of the Divisive Concepts Statute.

        41.      Elizabeth Dubrelle, who trains teachers on how to teach civics and social studies at

the New Hampshire Historical Society, says it’s a blow to an area of education that already lacks

robust standards. She said that “[s]ocial studies was already hanging on by its fingernail.” She

added, “My concern is that schools will decide that since it’s already in peril, it’s not worth the

risk and they’ll just do the bare minimum.” 19

        42.      Moreover, under New Hampshire law, public school teachers have a five-year

waiting period before they can achieve tenure. Before a teacher reaches that threshold, school

districts can choose not to renew their contract without strongly stated reasons. Many believe that

“[t]eachers that are newer, that are more concerned about making sure that they have their jobs

and they have a livelihood, are going to feel the most pressure to kowtow to this political

manipulation of curriculum,” Richman said, “not talking about anything that could potentially

ruffle any feathers at the expense of the students.” 20



18
   See Matthew Hill et al., ‘Their goal is to destroy everyone’: Uighur camp detainees allege systematic rape, BBC
NEWS (Feb. 2, 2021), https://www.bbc.com/news/world-asia-china-55794071.
19
   Sarah Gibson, Despite New State Law, Debate Continues Over Discussing Race And Equity in N.H. Schools, NEW
HAMPSHIRE PUBLIC RADIO (July 8, 2021), https://www.nhpr.org/nh-news/2021-07-08/despite-new-state-law-debate-
continues-over-discussing-race-and-equity-in-n-h-schools.
20
   DeWitt, supra n.15.


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        43.      New Hampshire’s Divisive Concepts Statute is not aimed at any existing teaching

practice: teachers do not indoctrinate their students or seek to have their students agree or disagree

with any particular political viewpoint; rather, they want only to retain the professional integrity

and freedom that they have traditionally been afforded under New Hampshire law. They

endeavor to open their students’ minds by exposing them to a wide variety of materials,

viewpoints and challenging concepts, without risking their careers or their district’s funding.

They seek to help children learn how to think, not what to think. The statute’s vague and broad

language unfairly chills teachers’ attempts to do their jobs and teach a wide range of materials and

viewpoints.

        44.      And the consequences for a teacher for violating the Divisive Concepts Statute’s

broad prohibitions are stark. They include disciplinary proceedings that can lead to dismissal and

reputational disgrace. See RSA § 193: 40 (IV). Strict enforcement of the State’s mandate

permitting only a single interpretation of American history with these consequences is directly

analogous to the actions, past and present, of totalitarian states. 21 Certainly this is not consistent

with a free society or the principles that underlie “Live Free or Die.”

        45.      Sadly, there is today no shortage of culture warriors – politically-charged groups

and individuals – who remain laser focused on persecuting public school teachers and preventing

them from teaching accurate history. In fact, just this month “Moms for Liberty NH,” a group

devoted to the nonexistent problem of critical race theory in public schools, announced a bounty,



21
  The Nuremberg Laws, though initially focused on Jews, applied with equal force to Blacks and other minorities.
See The Nuremberg Race Laws, Holocaust Encyclopedia, United States Holocaust Memorial Museum,
https://encyclopedia.ushmm.org/content/en/article/the-nuremberg-race-laws (2021) (last accessed Dec. 10, 2021).
Cf., James Q. Whitman, Hitler’s American Model, PRINCETON UNIV. PRESS (Feb. 21, 2017) (Discussing the impact of
America’s Jim Crow laws on the Nuremberg laws and Nazi Germany). See also Austin Ramzy & Chris Buckley, The
Xingiang papers: ‘Absolutely No Mercy’: Leaked files expose How China Organized Mass Detention of Muslims,
N.Y. TIMES (Nov. 16, 2019), https://www.nytimes.com/interactive/2019/11/16/world/asia/china-xinjiang-
documents.html.


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a $500 reward, for any individual who reports a teacher violating the ban on “divisive concepts”,

thereby triggering Department of Education inquiry, and perhaps more. 22




The Moms for Liberty NH “bounty” came hand-in-hand with Commissioner Edelblut’s and the

Department of Education’s effort to create an avenue for informants to inform on public school

teachers. Indeed, the Twitter “bounty” followed just two days after Commissioner Edelblut

created a website and form to report complaints against teachers. 23 Shades of the authoritarianism

of totalitarian states are inescapable. These parallel efforts will undoubtedly chill responsible and

ethical teaching about our nation’s history. Public school teachers now have a target on their

backs, and Commissioner Edelblut and the Department of Education have opened a pathway for

political extremists to instigate ideologically-motivated investigations that may lead to the




22
   Paul Blest, An Anti-CRT Group Is Offering People $500 to Snitch on Teachers, VICE NEWS (Nov. 15, 2021),
https://www.vice.com/en/article/y3vga5/anti-crt-group-offering-teachers-money-new-hampshire.
23
   New Hampshire Dep’t of Educ., Right to Freedom from Discrimination in Public Workplaces and Education,
https://www.education.nh.gov/who-we-are/deputy-commissioner/office-of-governance/right-to-freedom-from-
discrimination (last accessed Dec. 10, 2021).


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discipline and possible loss of professional credentials of teachers and administrators across the

State.

           46.     The Divisive Concepts Statute has brought partisanship into our classrooms and

ignited the fires of confrontation and discord in New Hampshire communities. To illustrate, that

conflagration has been kindled, of all places, on an official website created and controlled by the

Defendant New Hampshire Commissioner of Education. Indeed, the Commissioner’s website

demonstrates how the Divisive Concepts Statute’s alleged neutrality and overbreadth can be used

for political purposes to target teachers directly. Under the Divisive Concepts Statute, complaints

for violations of the statute may be brought by the aggrieved as a formal civil action in superior

court or with the New Hampshire Commissioner of Human Rights against a school or school

district. RSA § 193:40(III). The Department of Education website provides a link to facilitate the

filing of complaints against teacher “…for those who believe that they, or their child, was

discriminated against because their child’s school was teaching and/or advocating …” matter in

violation of the Statute 24. It then lists a series of reference works.

           47.     Studiously omitted however, is the Attorney General’s September 7, 2021 formal

opinion No. 2021-01, which expressly states that the Statute was viewed as “…confusing and that

public employers and schools will struggle to understand the scope of the new prohibitions.” 25 As

set forth in greater detail below, the Opinion makes clear that in the view of the Attorney General

the Divisive Concepts Statute required some 9-pages of non-binding clarification because vague

and confusing. Significantly, however, that attempt at clarity is wholly omitted from the

Education Department’s website months after issuance of the Opinion (i.e., at the time of filing of

this Complaint) despite the citation of other reference works. One result is to facilitate the


24
     See supra, n.23.
25
     Attorney General Opinion No. 2021-01, supra, n.2.


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improper filing of complaints asserting supposed violations alleging conduct and stimulating

investigation, reputational harm and burden through the Department of Education, with the

attendant dangers of arbitrary and discriminatory application.

       B.       The FAQs and Attorney General’s Opinion

       48.      Since its passage, the State has attempted on at least two occasions, in an FAQ

document issued in July and in a September 7, 2021 Attorney General’s opinion, Opinion No.

2021-01, to clarify the language and narrow the meaning of the uncontrovertibly vague and

confusing Divisive Concepts Statute.

       49.      The mere fact that the initial guidance was immediately needed and, two months

after it was provided, one of the authors of the initial clarification (the July FAQ’s)—the

Department of Human Rights – acknowledged it was confused and required clarification as to the

very nature and scope of the Divisive Concepts Statute, highlights not only the ambiguity of the

Statute, but also the perception that, in its quest to stifle speech and ban important and difficult

discussions of race, even an enforcer of the Statute finds it inherently “fuzzy.” Significantly,

however, while both efforts to try to remedy the flaws in the legislation seemingly move the

needle towards a more comprehensible (albeit redundant) law, the FAQ and Attorney General

Opinion still leave ambiguity and have no dispositive legal force. Indeed, it is as if the Attorney

General (and even those who lent their names to initial FAQ’s) are saying to those who read and

rely on these successive restatements of the Statement “the Legislators really did not mean what

they enacted”; yet, the law, as they enacted it, is still the law and is being used by the DOE and its

Commissioner, as well as their cadre of informers and bounty hunters, to confuse, intimidate and

bully teachers who have no idea if and when they teach according to the educationally-prescribed

curriculum, or answer forthrightly a student’s question, they will be pilloried, shamed or fired.

Until substantially recast or nullified, the Divisive Concepts Statute remains the vague law of


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New Hampshire, largely unintelligible by those intended to be affected and in direct conflict with

the United States Constitution and New Hampshire’s education laws. A few examples of the

FAQ’s attempt to seemingly correct the defective legislation emphasize the point.

        50.       First, the FAQ sets out to define certain terms of the statute. In a section entitled,

“What do the phrases ‘inherently superior or inferior’” or ‘inherently racist, sexist, or oppressive’

mean?,’” the FAQ tries to clarify this ambiguity, explaining that “‘[i]nherent’ means

characteristics that are natural, biological, or innate, as opposed to characteristics that are merely

apparent, accidental, or based on external factors.” 26

        51.       Second, in a section entitled “Does the law prohibit teachers from teaching U.S.

history,” the FAQ seeks to temper the impact of the Divisive Concepts Statutes, stating that

nothing therein precludes teachers from teaching historical subjects (like slavery or Jim Crow) or

discussions relating to current events (like the Black Lives Matter movement), or even efforts to

promote equality and inclusion, or other contemporary events that impact “certain identified

groups.” 27 It also indicates that topics relating to racism, sexism or other beliefs that make

students, faculty or parents uncomfortable will not automatically violate the statute. 28 The use of

the term “automatically” is telling. How is a teacher to know what topics will violate the statute

if it is not “automatically” enforceable? Who or what triggers enforceability? If, for example, a

student asks about current policies that attempt to correct for historical racism, sexism or other

oppression, such as affirmative action, may the teacher respond by providing examples of the

appropriateness or inappropriateness of such measures?

        52.       Finally, while the statute indicates that it should not be construed to prohibit

discussing, “as part of a larger course of academic instruction, the historical existence of ideas

26
   See FAQ.
27
   See id.
28
   See id.


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and subject[s]” such as discrimination and racism, the FAQ suggests that discussion of historical

practices may also include a discussion about how these practices “continue to harm certain

identified groups” and “their lingering impact.” Again, the line between teaching or describing

the “lingering impact” or “continue to harm” of racism and sexism in our country versus how or

whether these issues can or should be affirmatively addressed appears to be intentionally blurred,

so as to leave teachers in grave doubt regarding what they can and cannot say or teach in their

classrooms. 29

        53.      The FAQ’s did not resolve the all of the inherent flaws in the Divisive Concepts

Statute and neither has the September 7, 2021 Opinion of the Attorney General. In response to

the request from the Chair and Executive Director of the Commission for Human Rights to clarify

the “scope and application” of the Divisive Concepts Statute, the Attorney General framed his

own set of questions issued a series of questions regarding ambiguities in the law and attempted

to address them. The Attorney General frankly admits that “[s]ome have voiced concerns that

these new statutes are confusing and that public employers and schools will struggle to

understand the scope of the new prohibitions.”

        54.      Importantly, as previously noted, the Attorney General’s September 7th Opinion

has seemingly been wholly ignored by the Department of Education, the entity that directly

interacts with teachers and administers potential discipline. The refusal to even cite it is telling,

especially because the Opinion makes clear that the Statute must be recast in fundamental respects

and provides the beginning of a roadmap to fundamental interpretative restatement of the fatally

flawed Divisive Concepts Statute that this Court may employ through Declaratory Relief.

29
  It should not go unnoticed that in the same FAQ that attempted to “address[] questions that may arise regarding the
changes to schools and educational programs,” the Department of Education tacitly encouraged informers, pointing
out that any “student or parent” may file a complaint with the New Hampshire Commission for Human Rights,
Attorney General or file a civil claim in superior court for damages or injunctive relief.



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       55.     In stark contrast with the Divisive Concept Statute, the Attorney General’s

Opinion expands the permissible scope of teaching, advising, for example, that, while the statute

is silent on the matter, the Divisive Concepts Statute should not be viewed as prohibiting and does

not “prohibit schools from teaching about the role that discrimination may play in creating

disparities among different identified groups.” The Attorney General also suggests that

educational programs may teach “participants about disparities that may exist among different

identified groups, the current or historical practices that may have contributed to those disparities,

or about concepts such as implicit bias.” That small but significant substantive step forward does

not however make the statute as a whole readily understandable neither, we must stress, is it

enforceable, especially in the private actions seemingly encouraged by the DOE.

       56.     The Attorney General’s Opinion itself makes clear that even after the FAQ

restatement, ambiguities remain that are unresolved. What does it mean to teach about

“disparities that may exist among different identified groups” and “historical practices” that may

have led to the disparities? Can teachers in New Hampshire teach not only the historical

existence of segregation and Jim Crow and its impact on America, even today, but also remedial

proposals to address ongoing racial inequity? Can Mr. Richman, for example, teach or have his

students debate whether certain voting rights laws that restrict voting for certain groups constitute

racially charged “modern day Jim Crow” laws? Can his students debate affirmative action or

question whether race pays a role in police shootings today? Can those students be permitted to

discuss voter registration or reinstatement laws and procedures? Certainly, the Attorney

General’s Opinion moves in the direction of statutory clarity, but it does not provide enforceable

guidance or cure the statute’s facial infirmities.




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       57.     Moreover, regardless of how the FAQ or the Attorney General’s Opinion seek to

explain how the statute ought to be enforced, the statute provides for a private right of action for

any person , who may initiate a civil action against a school or school district, for their individual

dissatisfaction with curricular choices. “Any person”—not even limited to someone with a child

in a public school—may “initiate a civil action against a school or school district in superior court

for legal or equitable relief, or with the New Hampshire commission for human rights.” Such a

delegation of enforcement power is troubling insofar as it turns citizen on citizen, and encourages

a culture of surveillance and vigilantism. But even more worrisome is the likelihood that in

response to such actions, the Divisive Concepts Statute will undoubtedly be enforced in arbitrary

ways—leaving teachers unable to predict what lesson plans or classroom discussion is tolerated

by the statute and which ones run afoul of it.

       58.     When enforcement power is dispersed and privatized in this manner, there is no

consistency in how a law is enforced, which heightens the harm attributable to the

unconstitutional vagueness of the Divisive Concept Statute. No single, publicly-accountable body

sets enforcement priorities. Instead, individuals are left to determine, without any prior approval

or oversight, when a complaint should be prosecuted and why. Individuals have maximum

discretion—and minimal oversight. The problem with such private delegation of power is

exacerbated when a statute has no fixed meaning, like the Divisive Concepts Statute here.

Individuals will have unchecked authority to bring cases under their interpretation of the statute.

They will not have to abide by or even read (or have ready access) to the conflicting policies set

by the Department of Education or the Attorney General, flouting the guardrails of due process.

See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 164 (2014) (describing the risk of




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“frivolous complaints” when the “universe of potential complainants is not restricted to state

officials who are constrained by explicit guidelines or ethical obligations”).

        59.     And while the courts may rebuff the most extreme interpretations put forward, the

mere fact that individuals can enter court with those interpretations in the first place does damage

enough: it will chill the speech of teachers who do not want themselves, their schools or their

school districts hailed to court on their behalf, and who worry about the reputational harm that

would undoubtedly result. Moreover, every day that debate is stifled, the students of New

Hampshire suffer, and are put at a competitive disadvantage in a complex, multi-cultural world.

        60.     The private delegation of enforcement authority—combined with the vagaries of

the statute—will simply embolden those with the most polarizing views, who will seek to use this

new power that they have been granted to put pressure on teachers. Teachers will teach with the

eyes of these extremists on them, and will no doubt feel compelled to change their lesson plans

accordingly. Simply put, the guidance set forth in the FAQ or the Attorney General’s Opinion

will not stop the white nationalists, for example, who have bombarded New Hampshire school

board meetings, 30 or “Moms for Liberty NH,” from attempting to use the statute’s vague and

easily adaptable language to serve their own political purposes. It has not stopped the bounty

hunters from accessing the Commissioner of Education’s newly established website and offering

500 pieces of silver to those who point the finger of accusation, merited or not.

        61.     Time and again, history has demonstrated that the first effort of advocates of

totalitarianism is to censor education and understanding. The failure, as exemplified by the

initiators and facilitators of the Divisive Concepts Statute, to learn that lesson, would, to

paraphrase the noted philosopher Santayana, condemn us all to relive the darkest hours of history.

30
  N.H. Education Commissioner: ‘Divisive Concepts’ Restrictions Won’t Hinder Classroom Conversations, NEW
HAMPSHIRE PUBLIC RADIO (Aug. 24, 2021), https://www.nhpr.org/nh-news/2021-08-24/nh-education-divisive-
concepts-restrictions-wont-hinder-classroom-conversations.


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       62.     In reality, the broadly drawn Divisive Concepts Statute was designed to prohibit

forthright and balanced teaching by limiting New Hampshire’s students and future generations’

awareness and understanding of our shared history, along with the broadest spectrum of

philosophies, viewpoints and approaches. This, in turn, deprives New Hampshire students of the

well-rounded and competitive ability to critically analyze and confront effectively facts and ideas

that are in broad circulation in the modern economy. The Divisive Concepts statute is an

imprecise and overwrought effort to cabin the teaching of our country’s history of racism, sexism,

homophobia and the like to static, historical events rather than a continuing struggle for justice.

This “Big Brother” approach directly interferes with the competent functioning of public school

classrooms. This suppressive measure seeks to conceal our historical flaws such as the ill-

treatment of certain groups of people in this country (whether the Quakers in early New England

or African Americans in the Deep South or Asians-Americans during World War II and other

victims of blind intolerance), thereby attempting to create ill-educated students unaware of our

national commitment and struggle towards equality for all. In the process, it deprives New

Hampshire students of understanding and appreciating the heroic measures undertaken to secure

positive change and the arguments advanced both in favor of and against change.

       63.     Plaintiffs thus call upon this Court to resolve an issue of significant constitutional

import: to declare the Divisive Concepts Statute constitutionally void for vagueness or otherwise

invalid, or, alternatively, to declare in simple declaratives what curriculum – the basic

legislatively outlined curriculum historically adopted or some constitutionally acceptable

modification thereof – teachers may safely employ so that they do not violate the Divisive

Concepts Statute’s vague strictures. Without this Court’s specific declaratory guidance, teachers,

including Plaintiffs, have no fair notice of what curriculum is acceptable in practice. And it




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merits emphasis that that declaration will in no way diminish or adversely impact the nature,

scope or enforceability of New Hampshire’s longstanding and sweeping laws, regulations and

enforcement structure aimed at proscribing discrimination in the schools, the workplace and in

society in general.

        64.      Accordingly, Plaintiffs invoke this Court’s Declaratory Judgment jurisdiction to

declare that the Divisive Concepts Statute is void for vagueness, violative of the U.S. and New

Hampshire constitutions and invalid under New Hampshire state law or, alternatively, to build

upon the Attorney General’s interpretation a substantially recast version that eliminates those fatal

flaws and permits New Hampshire teachers to teach and its students to learn the lessons they

require for their future careers, lives and civic participation.

                             SPECIFIC FACTUAL ALLEGATIONS

        A.       Teaching American History, Social Studies, and Current Events in New
                 Hampshire’s Schools

        65.      New Hampshire courts have a long history of ensuring that New Hampshire

schools are properly educating its children.

        66.      In a series of cases going back to 1993, the New Hampshire Supreme Court has

held that the State has an obligation to provide and fund a constitutionally adequate elementary

and secondary education for all and that it is for the legislature and the Governor to define the

parameters of the education mandated by the State Constitution. Claremont Sch. Dist. v.

Governor, 138 N.H. 183 (1993) (Claremont I); Claremont Sch. Dist. v. Governor, 142 N.H. 462

(1997) (Claremont II); Claremont Sch. Dist. v. Governor, 147 N.H. 499 (2002) (Claremont III).




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Accord Contoocook Valley Sch. Dist. v. State, 174 N.H. 154 (2021) 31; Londonderry Sch. Dist.

SAU No. 12 v. State, 154 N.H. 153 (2006).

         67.      Consistent with those rulings, the Legislature has statutorily codified the

parameters of an adequate education. The State’s overarching policy is to “provide all students

with the opportunity to acquire the knowledge and skills necessary to prepare them for successful

participation in the social, economic, scientific, technological, and political systems of a free

government, now and in the years to come.” See RSA § 193–E:1(I). The legislature views “[a]

well-educated populace [a]s essential for the maintenance of democracy, the continued growth of

our economy, and the encouragement of personal enrichment and development.” RSA § 193–

C:1.

         68.      As set forth in New Hampshire’s state law, the criteria for an “Adequate Public

Education,” includes: “Knowledge of civics and government, economics, geography, history, and

Holocaust and genocide education to enable them to participate in the democratic process and to

make informed choices as responsible citizens.” See RSA § 193–E:2(IV). It also includes

“Grounding in . . . literature to enable them to appreciate our cultural heritage and develop

lifelong interests and involvement in these areas.” See RSA § 193–E:2(V).


31
   “The State does not contest the underlying law applicable to the issues in this case. Under our education
funding jurisprudence, Part II, Article 83 of the State Constitution ‘imposes a duty on the State to provide a
constitutionally adequate education to every educable child in the public schools in New Hampshire and to
guarantee adequate funding.” Claremont School Dist. v. Governor, 138 N.H. 183, 184, 635 A.2d 1375 (1993).

To comply with that duty the State must “define an adequate education, determine the cost, fund it with
constitutional taxes, and ensure its delivery through accountability.” Londonderry Sch. Dist. v. State, 154 N.H.
153, 155-56, 907 A.2d 988 (2006) (quotation omitted). The plaintiffs do not challenge the constitutionality of
the definition of an adequate education set forth in RSA §193-E:2-a (Supp. 2020). Rather, the plaintiffs’
grievance is that the State is not fulfilling its constitutional duty because local school districts require
substantially more funding than the State currently provides under RSA 198:40-a, II(a) in order for them to
deliver the opportunity for a constitutionally adequate education, as defined in RSA 193-E:2-a, to the public
school children in New Hampshire.”

Contoocook Valley Sch. Dist. v. State, 174 N.H. at 274 (Donovan, J. Opinion).



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         69.      Indeed, New Hampshire’s Legislature sets forth minimum standards for

“Instruction in National and State History and Government.” RSA § 189:11. New Hampshire

law requires that “[i]n all public and private schools in the state there shall be given regular

courses of instruction in the history, government and constitutions of the United States and New

Hampshire. . . .” See RSA § 189:11(I). Specifically, at a minimum, courses must include

instruction on:

                  (b) Skills to effectively participate in civic affairs.

                  ….

                  (j) How intolerance, bigotry, antisemitism, and national, ethnic,
                  racial, or religious hatred and discrimination have evolved in the
                  past, and can evolve, into genocide and mass violence, such as the
                  Holocaust, and how to prevent the evolution of such practices.

See RSA § 189:11(I)(j) (Emphasis added 32).

         70.      In furtherance of the above-stated educational goals and advancing its underlying

objectives, the State’s public policy has long demanded that discrimination of any kind be barred

from its public schools, mandating instead that schools and education are neither the vehicles for

nor a means by which discrimination may lawfully be advanced.

         71.      Accordingly, the New Hampshire legislature has barred:

                  discrimination in public schools because of . . . age, sex, gender
                  identity, sexual orientation, race, color, marital status, familial
                  status, disability, religion, or national origin.

RSA § 354-A:27.

         72.      Moreover, Chapter Ed 300 of New Hampshire’s Education laws addresses the

“Administration Of Minimum Standards In Public Schools.” 33 As stated by the legislature, social



32
  The Divisive Concepts Statute by its terms limits such teaching as is permitted to the teaching of “existence” not,
as mandated by law, its past, present and prospect evolution into “genocide or mass violence.” By so doing, the
Divisive Concepts Statute in critical terms stands squarely in conflict with RSA § 189:11(I)(j).


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studies programs should give students an opportunity “to acquire the knowledge, skills, and

attitudes necessary for effective participation in the life of the community, the state, the nation,

and the world.” 34 Middle schoolers must therefore receive “[s]ystemic instruction and activities

designed to enable students to . . . [a]cquire and use information to clarify issues and seek

solutions to societal problems. . . .” 35 High schoolers must “acquire knowledge and modes of

inquiry in the areas of civics, economics, geography, world history, and United States and New

Hampshire history. . . .” 36

        73.      Specifically, New Hampshire promulgated a “k-12 Social Studies New Hampshire

Curriculum Framework” 37 (last approved by the N.H. DOE in July 2006), setting forth specific

topics (“Strands”) in Civics, Economics, Geography, New Hampshire and United States History,

and World History and Contemporary Issues, that must be taught for each grade level. The

framework sets forth a set of standards for teaching social studies to different grade levels so that

students have “knowledge and skills needed to participate intelligently and responsibly in our

ongoing democratic experiment and in an interdependent world.” To that end, the New

Hampshire guide states that “[a]n effective study of social studies must focus on conceptual

frameworks and themes rather than solely an examination of facts.” 38

        74.      These Standards and Benchmarks encourage, among other things, the development

of research and inquiry skills, critical thinking and analysis, the ability to discern between fact and

opinion, the use of primary and secondary sources, and a deep understanding of the unvarnished


33
   Chapter Ed. 300, Administration of Minimum Standards in Public Schools,
http://www.gencourt.state.nh.us/rules/state_agencies/ed300.html (last accessed Dec. 10, 2021).
34
   Id. at 306.46(a)(4).
35
   Id. at 306.46(b)(4)(a).
36
   Id. at 306.46(c)(1).
37
   K-12 Social Studies New Hampshire Curriculum Framework,
https://www.education.nh.gov/sites/g/files/ehbemt326/files/inline-documents/standards-socialstudies-
framework.pdf?2 (June 2006) (last accessed Dec. 10, 2021).
38
   Id. at 5.


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story of our nation’s history, as well as that of the world. They highlight ten curricular themes as

creative approaches to social studies to encourage higher-order thinking in students. 39 The first

theme is “Patterns of Social and Political Interaction,” which includes: “human rights issues, the

changing role of women in the economy, immigration issues, and slavery.” 40 Themes for U.S.

History topics include: “slavery; racism; ‘Jim Crow’; Darwinism; eugenics.” 41 For grades 9-12,

students should be analyzing the impact of various labor systems, including “slavery, the

medieval guilds, or wage labor” or how “suffrage expanded to various groups of citizens” (like

African Americans and women). 42 An understandable and robust education program thus is

outlined and can be followed to benefit our children now and in the future.

        75.      Consistent with these standards, on December 14, 2017, Governor Sununu also

established an Advisory Council on Diversity and Inclusion pursuant to Executive Order 2017-

09. 43 The Council is charged with working cooperatively with the New Hampshire Commission

for Human Rights, the Civil Rights Unit of the New Hampshire Department of Justice, and any

other relevant State entities to:

        •        Review and analyze New Hampshire laws, regulations, and agency
                 policies and procedures, and recommend changes or amendments, where
                 necessary, to further combat discrimination and advance the ends of
                 diversity and inclusion;

        •        Identify and recommend ways in which the State can support local and
                 community efforts, through educational programs or otherwise, to combat
                 discrimination and advance diversity and inclusion;

        •        Identify and recommend ways in which the State can partner with non-
                 governmental organizations to combat discrimination and advance
                 diversity and inclusion; and


39
   Id. at 7.
40
   Id. at 9.
41
   Id. at 11.
42
   Id. at 62; 100.
43
   Gov. Chris Sununu, Governor’s Advisory Council on Diversity and Inclusion,
https://www.governor.nh.gov/diversity (last accessed Dec. 10, 2021).


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        •        Identify and recommend revisions to RSA 354-A and the scope of the
                 duties of the Commission for Human Rights to combat discrimination and
                 advance diversity and inclusion. 44

        76.      Taken together, these Standards, Benchmarks and diversity initiatives are intended

to teach students in New Hampshire public schools to be educated, informed, inclusive, critically

thinking and engaged public citizens.

        77.      To be clear, despite the misinformed political rallying cry, none of the lessons and

activities outlined in New Hampshire curricular law require the teaching of CRT to primary and

secondary school students. CRT is “a practice of interrogating the role of race and racism in

society that emerged in the legal academy and spread to other fields of scholarship.” 45 CRT

developed from the Critical Legal Studies (CLS) movement, “which argued that the law was not

objective or apolitical” in the 1970s, and expanded its reach to examination in law schools in the

1980s and 1990s. 46 As Kimberlé Williams Crenshaw, one of the leading scholars of CRT, notes,

CRT “is considered to be an evolving and malleable practice [that] critiques how the social

construction of race and institutionalized racism perpetuate a racial caste system that relegates

people of color to the bottom tiers.” 47

        B.       The Legislature Promulgates A Sweeping, Politically-Motivated, and Vague Ban
                 on Teaching So-Called Divisive Concepts Such as Gender, Age, Sexual and Racial
                 Discrimination

        78.      It is in the context of New Hampshire’s longstanding judicial and legislative

commitment to a well-rounded public education and emphasis on diversity and inclusion that



44
   Id.
45
   Janel George, A Lesson on Critical Race Theory, ABA (Jan. 12, 2021),
https://www.americanbar.org/groups/crsj/publications/human_rights_magazine_home/civil-rights-reimagining-
policing/a-lesson-on-critical-race-theory/ (emphasis added).
46
   Id; see also Kimberlé Williams Crenshaw, Twenty Years of Critical Race Theory: Looking Back to Move Forward,
43 Conn. L. Rev. 1253 (2011), https://scholarship.law.columbia.edu/faculty_scholarship/2864 (last accessed Dec. 10,
2021).
47
   Janel George, A Lesson on Critical Race Theory.


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makes the Legislature’s sudden obeisance to the extremist political winds of the day in the

Divisive Concepts Statute so jarring.

        79.     On January 12, 2021, Keith Ammon, a majority member of the House of

Representatives introduced New Hampshire House Bill HB 544, titled an act “relative to the

propagation of divisive topics.” 48 Disingenuously framed under the banner of national “unity,”

the bill’s introducing sponsor unapologetically indicated at the legislative hearing for the bill that

he did not believe in systemic racism and likened individuals who conduct diversity and inclusion

trainings to “snake oil salesman.” 49 The bill prohibited the teaching of so-called “divisive

concepts” and threatened to financially penalize public employees, private businesses and current

and prospective state contractors for teaching or training on supposed “divisive concepts” related

to race and sex. Divisive concepts were defined as claims that individuals in New Hampshire or

the United States were “fundamentally racist or sexist” or that “by virtue of his or her race or sex,

members of any race are inherently racist or are inherently inclined to oppress others, or that

members of a sex are inherently sexist or inclined to oppress others.” Governor Sununu

threatened to veto HB 544 if it was enacted, so the bill was ultimately tabled.

        80.     Meanwhile, the 2022-23 State Biennial Budget had to be adopted before July 1,

2021—the commencement of the new fiscal year—in order to avert a shutdown of all state

operations. The House and Senate each adopted separate budget bills, requiring reconciliation by

a Joint Conference Committee chaired by the Chairman of the House Finance Committee. The

Chairman went on record stating that the “divisive concepts” provision needed to be included in

the budget bills as a prerequisite to getting House votes for passage of HB1 (the budget measure).

48
   NH House Bill 544 (May 7, 20201), https://www.theatlantic.com/politics/archive/2021/05/gops-critical-race-
theory-fixation-explained/618828/.
49
   Eileen O’Grady, “N.H. lawmakers debate banning schools from teaching about systemic racism and sexism,”
CONCORD MONITOR, (Feb. 18, 2021), https://www.concordmonitor.com/Education-bill-would-ban-teaching-racism-
sexism-38821767.


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       81.    With the deadline for adoption of HB 1 looming, and the specter of mandatory

shutdown of State operations present, a quid quo pro solution suddenly “materialized.” The

Senate re-wrote HB 544 to expand its scope. The new bill created RSA § 193:40 (June 25, 2021)

(the “Teaching Discrimination Statute”), which was included (by way of amendment) as part of

HB2, the Budget Bill’s companion measure calculated to force adoption of a Biannual Budget and

avoid shutting down State operations.

       82.    On June 24, 2021, HB1 and HB 2 were enacted just before expiration of the

budgetary deadline and signed by the Governor on June 25, 2021. HB2 was trumpeted as an anti-

discrimination measure and righteously captioned “193:40 Prohibition on Teaching

Discrimination.”

       83.    By its terms, HB 2 includes a provision on “Prohibition on Teaching

Discrimination,” which applies only to public employees. It provides that:

       Prohibition on Teaching Discrimination.

             I. No pupil in any public school in this state shall be taught, instructed, inculcated
       or compelled to express belief in, or support for, any one or more of the following:

                      (a) That one’s age, sex, gender identity, sexual orientation, race, creed,
              color, marital status, familial status, mental or physical disability, religion or
              national origin is inherently superior to people of another age, sex, gender identity,
              sexual orientation, race, creed, color, marital status, familial status, mental or
              physical disability, religion, or national origin;

                     (b) That an individual, by virtue of his or her age, sex, gender identity,
              sexual orientation, race, creed, color, marital status, familial status, mental or
              physical disability, religion, or national origin, is inherently racist, sexist, or
              oppressive, whether consciously or unconsciously;

                      (c) That an individual should be discriminated against or receive adverse
              treatment solely or partly because of his or her age, sex, gender identity, sexual
              orientation, race, creed, color, marital status, familial status, mental or physical
              disability, religion, or national origin; or

                      (d) That people of one age, sex, gender identity, sexual orientation, race,
              creed, color, marital status, familial status, mental or physical disability, religion,


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                  or national origin cannot and should not attempt to treat others without regard to
                  age, sex, gender identity, sexual orientation, race, creed, color, marital status,
                  familial status, mental or physical disability, religion, or national origin.

                 II. Nothing in this section shall be construed to prohibit discussing, as part of a
         larger course of academic instruction, the historical existence of ideas and subjects
         identified in this section.

                 III. Any person claiming to be aggrieved by a violation of this section, including
         the attorney general, may initiate a civil action against a school or school district in
         superior court for legal or equitable relief, or with the New Hampshire commission for
         human rights as provided in RSA 354-A:34.

                IV. Violation of this section by an educator shall be considered a violation of the
         educator code of conduct that justifies disciplinary sanction by the state board of
         education. (Emphasis added).

         84.      More than half of Gov. Chris Sununu’s Advisory Council on Diversity and

Inclusion, including both local members, resigned in protest of Sununu’s decision to sign into law

the Divisive Concepts Statute. 50 They wrote that the law “aims to censor conversations essential

to advancing equity and inclusion in our state, specifically for those within our public education

systems, and all state employees. This will directly impact those who are working with some of

our state’s most vulnerable populations, including educators, child welfare workers, and law

enforcement.” 51

         85.      The Advisory Council on Diversity and Inclusion also maintained that the Divisive

Concepts Statute was “in direct conflict with the stated purpose of the Council laid out in your

2018 Executive Order instructing us to identify ways to “combat discrimination and advance

diversity and inclusion.” 52




50
   Caleb Symons, “10 resign from state’s diversity over ‘divisive concepts’ law, SENTINEL (June 29, 2021),
https://www.sentinelsource.com/news/local/10-resign-from-states-diversity-panel-over-divisive-concepts-
law/article_c7c08f8e-e7a2-5a12-ba8a-7f5f3b43d33a.html.
51
   Resignation letter, (June 29, 2021) https://www.aclu-nh.org/sites/default/files/gacdi-resignation-letter.pdf.
52
   See id.


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         86.     Lest there be any doubt that the Divisive Concepts Statute was meant to be a

solution for the non-existent problem of mandatory teaching of CRT, New Hampshire’s public

figures have repeatedly reaffirmed it.

         87.     Defendant Frank Edelblut advanced the charge, stating that “our basic values are at

risk if teachers claim that racism played a critical role in American History.” 53 He stated in a

tweet:




         88.     Rep. Ken Weyler (R-Kingston), House Finance Chair, who supported the Divisive

Concepts Statute, considered CRT to be a “Marxist, anti-American, anti-White” program. 54

         89.     And since passage of the Divisive Concepts Statute, New Hampshire Governor

Sununu has tried to distance himself from CRT:

         •       “The ideas of Critical Race Theory and all of this stuff, I personally don’t
                 think there’s any place for that in schools. . . .”; 55

         •       He “doesn’t like Critical Race Theory as much as anyone”; 56


53
   David Scannell, Much ink has already been spilled about HB 544, the so-called ‘divisive concepts’ bill – here’s
some more (June 15, 2021), https://manchesterinklink.com/much-ink-has-already-been-spilled-about-hb-544-the-so-
called-divisive-concepts-bill-heres-some-more/.
54
   Damien Fisher, Compromise Sought on Anti-Critical Race Theory Bill, NH JOURNAL (April 19, 2021)
https://nhjournal.com/compromise-sought-on-anti-critical-race-theory-bill/.
55
   Michael Graham, Sununu: I Don’t Like Critical Race Theory, But I Won’t Ban It, Either, NH J. (April 8, 2021)
https://nhjournal.com/sununu-i-dont-like-critical-race-theory-but-i-wont-ban-it-either/.
56
   See id.


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        90.      New Hampshire has a long and rich history, particularly in the field of public

education. The first publicly funded school was opened in Hampton, N.H. some 372 years ago,

on May 31, 1649. The sole qualification for admission was that girls and boys be “capable of

learning.” 57 New Hampshire also has a well-established constitutional, legislative, and

administrative regimen ensuring that as a matter of public policy:

                 [P]ublic elementary and secondary education shall provide all
                 students with the opportunity to acquire the knowledge and skills
                 necessary to prepare them for successful participation in the social,
                 economic, scientific, technological, and political systems of a free
                 government, now and in the years to come. . . .

RSA § 193-E:1. However, as one of only six states to pass a law restricting certain kinds of

teaching on race and gender, the law has had its intended purpose of thrusting New Hampshire to

the forefront of the culture wars, questioning a noble educational heritage.

        91.      Reopen NH, which organized against COVID restrictions and masks during

lockdown, has been posting about Critical Race Theory and urging people to attend school board

meetings. So have some white nationalist groups. 58 As noted, Moms for Liberty NH has offered a

bounty on public school educators who the informant believes have strayed by “breaking this

law” (see supra, ¶ 45).




57
   Higher education has also long been a hallmark of the Granite State. Dartmouth College has since 1769 been one
of the nation’s most respected institutions of learning. The University of New Hampshire, a public land grant college
and research university, was founded in 1893.
58
   Sarah Gibson, Despite New State Law, Debate Continues Over Discussing Race and Equity in N.H. School, NEW
HAMPSHIRE PUBLIC RADIO (July 8, 2021), https://www.nhpr.org/nh-news/2021-07-08/despite-new-state-law-debate-
continues-over-discussing-race-and-equity-in-n-h-schools.


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       92.     HB 2 was not a law passed to end discrimination in New Hampshire public

schools, nor was it viewed as such – those laws clearly already exist; indeed it merits emphasis

that at best, to the extent HB 2 effects any proper proscription against discrimination it is

unnecessarily confusing, wholly redundant of and in a number of instances conflict with long-

established and well enforced New Hampshire laws and regulations. The passage of HB 2, in its

watered-down form, was intended to inject partisan politics into New Hampshire’s educational

regimen by adding New Hampshire and its far right-leaning legislators to the political map and

the national conversation surrounding the manufactured and contrived political controversy of

critical race theory. It is, however, unconstitutional and should be invalidated unless the court

construes it exceedingly narrowly and substantially recasts it along the lines of the roadmap

provided by New Hampshire’s Attorney General.




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         C.       The Legislature Implemented the Divisive Concepts Statute to Threaten Plaintiffs’
                  Ability to Teach Freely, Sowing Confusion and Inflaming Tensions

         93.      While the CRT issue is a politically manufactured problem employed by partisan

zealots without any basis in reality, teachers face the very real possibility of losing their jobs on

account of the Divisive Concepts Statute. Should a “bounty hunter” or Department of Education

informant simply chose to identify a teacher as having allegedly violated the Divisive Concepts

Statute, an inquisition begins, legal fees become a reality, and a teacher’s character, reputation

and occupation are jeopardized.

         94.      In the FAQ, the New Hampshire Department of Education explained that students

and parents that believe their school has violated the Divisive Concepts Statute may simply reach

for their computer and file a complaint with the New Hampshire Commission for Human Rights,

a complaint with the New Hampshire Office of the Attorney General, or a civil claim in the

superior court to seek damages or declaratory relief. 59 An educator can also individually face

disciplinary sanction by the state board of education for violating the educator code of conduct. 60

         95.      To enforce the Divisive Concepts Statute, Commissioner Edelblut has now created

a website to report complaints of teachers allegedly violating the statute and indicated that he will

investigate any such claim as educator misconduct, placing a teacher’s livelihood in jeopardy.

And, as noted, it is Commissioner Edelblut’s state-funded website that will be the forum for the

proclaimed bounty prize from the Moms for Liberty NH for informers (identified or anonymous).

         96.      Thus, any individual – anonymously, if they wish – can report a teacher for

teaching history, economics or civics that does not conform to their own personal views of the



59
  See id.
60
  Pursuant to New Hampshire’s Education Law, the state board of education is tasked with adopting rules for
disciplinary proceedings, including procedures assuring due process. See RSA § 193–D:2. It also gives the state
board of education discretion to adopt “[a] complaint procedure for those asserting that a provision of this chapter has
been violated, and possible sanctions and penalties for such violation. . . .” See id.


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world. Just two days after the website and complaint form was published, the Moms of Liberty

NH announced their “bounty” on teachers. To put it more concretely, the teacher who assigns a

student or a class an oral report on race in America or New Hampshire and receives student work

that includes reference to systemic discrimination, could implicate a rush to collect the bounty or

file a complaint. If a current events question is raised concerning the nature and circumstances

under which affirmative action was directed in a given circumstance and the teacher explains

what was involved, whether it is merited and what other remedies are available, they too could be

subject to “bounty hunters.” To most, such debates, even if controversial, are part of a robust and

well-rounded education; but now in New Hampshire, teachers must think twice before engaging

in these discussions, particularly if teaching is the sole basis for their livelihood. Mr. Richman’s

teaching of ethnic and racial genocide is now fraught with danger. And all of this is the result of

partisan political crusade to resuscitate a constitutionally flawed Presidential Executive Order that

was judicially enjoined. Simply by continuing to teach lesson plans about history as they have

always been taught in accordance with New Hampshire’s education laws, teachers in New

Hampshire now risk professional discipline and severe reputational harm.

       D.       It Is Impossible for New Hampshire Teachers to Comply with the Vague Statutory
                Proscriptions and Universal State Education Standards

       97.      The Divisive Concepts Statute is incompatible with New Hampshire’s

Constitution, Education Law and curriculum requirements, rendering it impossible for teachers to

teach and follow state-mandated Standards and Benchmarks and still comply with the political

manifesto. Part II, Article 83 requires the State to “provide a constitutionally adequate education

to every educable child in the public schools in New Hampshire and to guarantee adequate

funding.” The Supreme Court of New Hampshire considers an “adequate public education” to be

a fundamental right.



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       98.      Thus, an adequate education must include the following curricular subjects:

                (b) Skills to effectively participate in civic affairs.

                ….

                (j) How intolerance, bigotry, antisemitism, and national, ethnic,
                racial, or religious hatred and discrimination have evolved in the
                past, and can evolve, into genocide and mass violence, such as the
                Holocaust, and how to prevent the evolution of such practices.

RSA § 189:11.

       99.      Yet, the Divisive Concepts Statute’s prohibition against teaching racial superiority

or age discrimination—while also limiting teachers to instruction on the “historical existence of

[proscribed] ideas and subjects”—is internally inconsistent with the Education Law’s mandate to

teach on the evolution of intolerance, bigotry, antisemitism, and national, ethnic, racial, or

religious hatred and discrimination, and importantly, potential preventive measures. Section 189

requires teachers to teach more substantive history than just the mere “existence” of genocide or

mass violence directed by the Divisive Concepts Statute. They are commanded by law to make

clear to students “…how to prevent the evolution of such [discriminatory] practices,” what

solutions or measures have been proposed, their rationale and alternatives And they should.

       100.     Take, for example, Jim Crow. Section 189:11 requires public schools to teach

about its evolution: its roots in slavery, its worldwide negative impact, that it was an

acknowledged precursor to Hitler’s Nuremberg Laws and has frequently been cited by totalitarian

states as indicative of this nation’s lack of moral fiber. However, the Divisive Concepts Statute

on its face would directly limit discussion of Jim Crow, permitting teachers to only discuss the

“historical existence” of Jim Crow. A teacher in American History in New Hampshire cannot tell

whether he or she is permitted to take that discussion further to include, for example, how the

laws worked and who it benefited, how it impacted the lives of generations past and present and,



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in turn, has had a continuing impact on our society and nation, much less what options have been

proposed for rectifying it. True, the Attorney General has opined that there is a re-interpretive

path to surgically erase and restate certain portions of the Statute, but that does not carry the force

of law or bind the private citizens who are empowered under the Statute to enforce it.

        101.     In June 2006, the New Hampshire Department of Education promulgated “New

Hampshire K-12 Social Studies Curriculum Framework,”(N.H. Department of Education,

2006) 61. Among the prescribed educational themes were the following:

                 Theme I: Patterns of Social and Political Interaction

                 This theme focuses on the changing patterns of class, ethnicity,
                 race, and gender in social and political relations.

                 Examples of these patterns are human rights issues, the changing
                 role of women in the economy, immigration issues, and slavery.

Id. at 9. The Divisive Concepts Statute therefore violates Part II, Article 83 and the Education

laws and curricular standards promulgated thereunder by diminishing through censorship

students’ ability to examine how important the history of our country – and recurring issues

related to class, ethnicity, race and gender – continue to have a lasting impact on our country—

and the proposals for change.

                                   COUNT I
               VIOLATION OF THE DUE PROCESS CLAUSE AS VOID FOR
                     VAGUENESS AGAINST ALL DEFENDANTS

        102.     The allegations in paragraphs 1 through 101 are incorporated herein by reference.

        103.     The Due Process Clause of the Fourteenth Amendment places limitations on state

action that deprives individuals of life, liberty, or property. It is a basic tenet of due process that

an enactment is void for vagueness if its prohibitions are not clearly defined.

61
   New Hampshire K-12 Social Studies Curriculum Framework, NH DEPT. OF EDUCATION (June 2006),
https://www.education.nh.gov/sites/g/files/ehbemt326/files/inline-documents/standards-socialstudies-
framework.pdf?2.


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       104.    The Divisive Concepts Statute is inherently contradictory and fails to provide

adequate notice and a reasonable opportunity to teachers to know what, precisely, is prohibited.

       105.    It forbids teaching the concept that one race or sex is inherently oppressive,

“whether consciously or unconsciously,” but specifically carves out from the ban discussing “as

part of a larger course of academic discussion, the historical existence” of these ideas and

subjects. Teachers are permitted to teach about historical “existence” of racism, sexism and other

biases. – i.e., that they existed – but they are forbidden to discuss their nature, scope and their

impacts both historically and today, much less proposals on how they can be prevented, an

explicit requirement of the Education Law.

       106.    All of the provisions of the Divisive Concepts Statute require highly personal and

amorphous value judgments that are incompatible with the requirement that laws provide clear

notice and due process to those impacted. The Attorney General’s opinion provides some basis

towards statutory clarity but is not binding on this Court nor any citizen individual bringing suit

under the private right of action authorized by the Divisive Concepts Statute.

       107.    Plaintiffs have been prevented and chilled from exercising their due process rights

by the vagueness of the Divisive Concepts Statute, its punitive opportunities ranging from

censure, dismissal by their local school board and complete loss of their teaching license by the

State Commissioner of Education, who appears politically motivated to enforcing the law in a

biased and improper fashion.

       108.    The overbreadth and vagueness of the law will lead to its arbitrary and capricious

enforcement (whether in governmental enforcement proceedings or private actions by citizens)

and chill constitutionally protected speech.




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       109.    The vagueness of the law will also lead politically-motivated groups and

individuals to use the law to lodge complaints to suit their agendas.

       110.    In the absence of injunctive relief, Plaintiffs are threatened with irreparable harm

as a result of the violation of their Due Process rights.

       111.    As a result, Plaintiffs seek a judgment compelling Defendants to cease and desist

from engaging in an unconstitutional impairment of their due process rights and a declaration that

the Divisive Concepts Statute is void for vagueness.

                              COUNT II
        THE CONFLICT BETWEEN THE DIVISIVE CONCEPT STATUTE AND
           NEW HAMPSHIRE LAW ADDS TO AND UNDERSCORES THE
             UNCONSTITUTIONAL VAGUENESS OF THE STATUTE

       112.    The allegations in paragraphs 1 through 111 are incorporated herein by reference.

       113.    The Divisive Concepts Statute conflicts with existing New Hampshire law. Thus,

teachers are placed in an unacceptable quandary: if they comply with New Hampshire law, they

can be charged with violation of the Divisive Concept Statute and if they comply with the latter

they violate New Hampshire Law and the mandated curriculum. That conflict of itself renders the

Statute void for vagueness.

       114.    The New Hampshire Constitution Part II, Article 83 provides every citizen with a

fundamental right to an education.

       115.    In Londonberry Sch. Dist. v. State, 154 N.H. 153, 155-56 (2006), the New

Hampshire Supreme Court tasked the Legislature with setting the parameters for a

constitutionally adequate education.

       116.    The Legislature subsequently enacted N.H. Rev. State 193-E:2 setting forth a

substantive educational program to deliver the opportunity for an adequate education for

kindergarten through twelfth grade. It provided that students shall have “[k]nowledge of civics,



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and government, economics, geography, history and Holocaust and genocide education to enable

them to participate in the democratic process and to make informed choices as responsible

citizens.” While it left specific curricular choices to local school boards, by statute, the

legislature mandated that New Hampshire schools statewide must, at a minimum, instruct on

“[h]ow intolerance, bigotry, antisemitism, and national, ethnic, racial, or religious hatred and

discrimination have evolved in the past, and can evolve, into genocide and mass violence, such as

the Holocaust, and how to prevent the evolution of such practices.” RSA 189:11(j) (emphasis

added).

          117.   The Divisive Concepts Statute rebuffs the New Hampshire Constitution and the

Legislature’s educational enactments by diminishing through censorship students’ explanatory

knowledge base. It permits teachers to teach about the historical existence of a topic, not the

substantive concerns, facts, theories and policies surrounding critical events in history, let alone

any proposals for ultimate resolution or amelioration of resultant concerns. See N.H. Rev. State

193.40 (I) (a) (precluding any teaching that one’s age, sex, gender identity, sexual orientation,

race, creed, color, marital status, familial status, mental or physical disability, religion or national

origin is inherently superior to people of another age, sex, gender identity, sexual orientation,

race, creed, color, marital status, familial status, mental or physical disability, religion, or national

origin). It even casts doubt upon, if not entirely precludes, teaching both or many of the

expressed sides of any issues involving the basic matters detailed in N.H. Rev. Sta. 193.40(I)(a).

Teachers cannot, among other things, teach about how bigotry and intolerance has evolved and

how to prevent the evolution of these practices.

          118.   In construing the Divisive Concepts Statute’s constitutionality “strict scrutiny” is

the applicable test. The Statute prohibits teachers from teaching distinct matter pertaining to




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recognized “suspect classifications (e.g., “age, sex, gender identity sexual orientation, race...”).

Thus construed, and given the absence of any contrary compelling state interest, the Divisive

Concepts Statute fails to pass muster.

       119.    Further, New Hampshire law contains a “Freedom of Expression” Act, RSA

Chapter 98-E, that reaches broader than the federal First Amendment and allows every public

employees “a full right to publicly discuss and give opinions as an individual on all matters

concerning any government entity and its policies.” RSA 98-E:1. By curtailing and chilling

teacher speech, the Divisive Concept Statute violates RSA 98-E.

       120.    At the very least, because of the litany of state laws that conflict with the Divisive

Concepts Statute, it is impermissibly vague and therefore violates Plaintiffs’ constitutional right to

due process under the New Hampshire Constitution (N.H. Const. pt. 1, art. 12), as well as the

Fourteenth Amendment of the U.S. Constitution.

       121.    Plaintiffs seek a judgment compelling Defendants to cease and desist from

engaging in the enforcement or in any application of the unconstitutionally vague Divisive

Concept Statute which simultaneously unconstitutionally impairs New Hampshire citizens’ rights

and violates New Hampshire law.

                                    COUNT III
                        VIOLATION OF THE FIRST AMENDMENT
                             AGAINST ALL DEFENDANTS

       122.    The allegations in paragraphs 1 through 121 are incorporated herein by reference.

       123.    As a direct and proximate result of the Divisive Concepts Statute, Defendants have

violated the established rights of Plaintiffs to freedom of speech under the First Amendment of

the United States Constitution as applied to the states and their political subdivisions by the

Fourteenth Amendment, in that Defendants have censored Plaintiffs’ speech by restricting

Plaintiffs’ proper curricular discretion. Indeed, it broadly precludes any teaching that relies on


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concepts that certain members of the New Hampshire legislature deem offensive, including the

idea that individuals may possess implicit or unconscious biases.

       124.    As a direct and proximate result of the Divisive Concepts Statute, Defendants have

also violated the established rights of Plaintiffs under the Free Speech Clause, Part I, Article 22 of

the New Hampshire Constitution and abridged the public policy of New Hampshire concerning

the right of public employees to “publicly discuss and give opinions as an individual on all

matters concerning any government entity and its policies” as mandated by RSA Chapter 98-E:1.

       125.    Plaintiffs have been prevented and chilled from exercising their rights by threat of

disciplinary action, private suit or the loss of their teaching license for violation of the Divisive

Concepts Statute.

       126.    By its plain terms, violation of the Divisive Concepts Statute is considered a

violation of the educator code of conduct, which may result in disciplinary or state licensure

action, potentially depriving teachers of their livelihood.

       127.    The creation of the Commissioner of Education’s website as a recognized vehicle

for the filing of formal complaints against teachers for alleged violation of the Divisive Concepts

Statute– accessible to anyone with a political agenda, personal grudge or worse – subjects

teachers to arbitrary and capricious enforcement of the Divisive Concepts Statute and its

draconian consequences.

       128.    Plaintiff teachers under threat of Department of Education or private citizen

complaint are justifiably forced to self-censor their own free speech to avoid these severe and

draconian threats.

       129.    The subject matter of the restraint on speech and the issues herein tendered are

such to mandate invocation of “strict scrutiny.” Defendants have failed to establish a compelling




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state interest that would justify such censorship and the Divisive Concepts Statute cannot and

does not survive the “strict scrutiny” test.

          130.   In the absence of injunctive relief, Plaintiffs are threatened with irreparable harm

as a result of the violation of their First Amendment rights.

          131.   Plaintiffs have no adequate remedy at law for the loss of their First Amendment

Rights.

          132.   As a result, Plaintiffs seek a judgment compelling Defendants to cease and desist

from engaging in an unconstitutional impairment of their first amendment rights to freedom of

speech.

                                  COUNT IV
                 DECLARATORY JUDGMENT INTERPRETING THE RULE
                 AGAINST ALL DEFENDANTS (DECLARATORY RELIEF)

          133.   The allegations in paragraphs 1 through 132 are incorporated herein by reference.

          134.   28 U.S.C. § 2201 empowers the Court to “declare the rights and other legal

relations of any other interested party seeking such declaration, whether or not further relief is or

could be sought.”

          135.   The Constitution of New Hampshire likewise accords the judiciary the right to

declare the rights of interested parties respecting the validity and scope of state statutes and rules

and regulations promulgated thereunder (See, e.g., N.H. Const., Part 2, Art. 72-a).

          136.   The Divisive Concepts Statute broadly prohibits teachers from teaching distinct

matter pertaining to the recognized “suspect classifications (e.g., “age, sex, gender identity sexual

orientation, race...”). To illustrate, the Teacher Discrimination Statute prohibits instruction

concerning claims of racial superiority (id. at (a)) or age discrimination (id. at (b)). However, the

Divisive Concepts Statute also requires teachers to comply with New Hampshire’s Constitution

(e.g. Part II, Art 83 of the State Constitution as construed and applied by the Supreme Court of


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New Hampshire 62) as well as statewide educational standards that have been in place for decades.

This includes N.H. Rev. Stat. Ann. § 189:11 and the statewide “New Hampshire K-12 Social

Studies Curriculum Framework,” (N.H. Department of Education, 2006), which mandate that

students be taught (among other things) about the evolution of intolerance, bigotry, antisemitism,

and national, ethnic, racial, or religious hatred and discrimination and patterns of class, ethnicity,

race, and gender in social and political relations. The Divisive Concepts Statute thus is not only

void for vagueness, but it also poses an irreconcilable conflict with state educational provisions,

which must be resolved for the sake of New Hampshire’s teachers and students.

          137.     Giving broad meaning to the Divisive Concepts Statute—such that it could

prohibit the teaching of materials that otherwise would be in accord with state educational

standards—would raise serious questions about whether it violates the New Hampshire

Constitution, and accordingly such an interpretation should be avoided.

          138.     The Divisive Concepts Statute must be limited and construed in a manner that

preserves New Hampshire’s teachers’ abilities to teach the wide variety of materials and concepts

mandated by state law. Interpreting the Divisive Concepts Statute to give full force and effect to

its broad prohibition, on the other hand, would run afoul of the New Hampshire’s Constitution’s

free speech guarantee because it would be a non-viewpoint-neutral prior restraint on protected

speech.

          139.     Plaintiffs therefore seek a declaratory judgment that:

               a) the Teaching Discrimination Statute is void for vagueness, and

               b) the Teaching Discrimination Statute and any Regulations promulgated thereunder,
                  as well as, RSA §§ 354-A:30-34, to the extent applicable, are invalid and void
                  under the Constitutions of the State of New Hampshire and of the United States,
                  or, in the alternative,


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     See, e.g., Claremont School Dist. v. Governor, 138 N.H. 183, 184 (1993).


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           c) clarifying that, in accordance with subdivision II of the Teaching Discrimination
              Statute and the applicable principles and provisions of the Constitution and laws of
              the State of New Hampshire and of the United States, nothing contained in the
              Teaching Discrimination Statute, or in. the Contemporaneous Amendments,
              precludes or limits, nor may the State or any agent or instrumentality thereof,
              including, without limitation, the New Hampshire Commissioner of Education,
              employ same to bar or deter, teachers from teaching or students from learning the
              nature, substance, history, relevant theories and/or existence of ideas, subject
              matter, events and concerns relating or pertaining to age, sex, gender identity,
              sexual orientation, race, creed, color, marital status, familial status, mental or
              physical disability, religion, or national origin, past or present;

           d) the Teaching Discrimination Statute and any Regulations promulgated thereunder
              are in conflict with the public policy of the State of New Hampshire,

           e) the Teaching Discrimination Statute and the Contemporaneous Amendments are
              invalid under Part 2, Article 18-a, of the New Hampshire Constitution because an
              invalid addition to a Budget Bill.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for relief as follows:

       First, an order declaring the Divisive Concepts Statute unconstitutionally vague in

violation of Fourteenth Amendment and First Amendments of the United States Constitutions and

New Hampshire Constitutions Part 1, Arts. 12 and 22 (speech and vagueness);

       Second, preliminary and permanent injunctions prohibiting Defendants from enforcing the

Divisive Concepts Statute against any teacher;

       Third, in the alternative, an order declaring the Divisive Concepts Statute must be

narrowly construed in order to avoid infirmity under the free speech and due process guarantees

of the New Hampshire and United States Constitutions, and therefore, among other things, does

not prohibit any New Hampshire teacher from utilizing materials and promoting concepts

mandated by or permitted under any New Hampshire law.

       And any additional relief this court deems just and proper.




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                                           JURY DEMAND

Plaintiffs demand a trial by jury for all issues so triable as a matter of right.

Dated: December 13, 2021                           Respectfully submitted,

                                                          /s/ Peter J. Perroni
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